Case 1:19-cr-00725-JPO Document 50 Filed 12/19/19 Page 1of1

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December 19, 2019

VIA ECF

Honorable J. Paul Oetken
United States District Judge
Southern District of New York
United States Courthouse

40 Foley Square
New York, NY 10007

United States v. Kukushkin, et al. 19 CR. 725 (JPO)

Dear Judge Oetken:

We are counsel for Andrey Kukushkin, a defendant in the above referenced matter. We
write to supplement the defense’s December 12, 2019, application pursuant to 18 U.S.C. §3504
(Doc. 45). Annexed is a decision rendered yesterday by the United States Court of Appeals for
the Second Circuit in United States v. Agron Hasbajrami, Dkt No. 15-2684-L; 17-2669-CON. In
addition to providing background information on non-Title III surveillance, we submit, that the
decision is particularly relevant to the issues of the defense’s need to discern whether evidence
the government obtained in its investigation was the product of unlawful surveillance or
interception.

We thank the Court for its consideration.

Respectfully ee

Gerald B. Lefcourt

cc: All counsel (via ecf)
